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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JESSICA STAHLMAN, JEREMY                       Case No. 2:22cv11244-SDK-DRG
SESSLER, and RONALD SMITH,
individually and on behalf of all others
similarly situated,                            Honorable Shalina D. Kumar

                                               Magistrate David R. Grand
                    Plaintiffs,

       v.
FORD MOTOR COMPANY,
                    Defendant.


              STIPULATION AND ORDER EXTENDING TIME
            FOR DEFENDANT TO FILE RESPONSIVE PLEADING

       The Parties to the above-captioned action, by their respective undersigned

counsel, hereby stipulate and agree to an extension of responsive pleading deadlines

as follows:

       1.     Defendant Ford Motor Company shall not be required to respond to

 Plaintiffs’ Class Action Complaint. Plaintiffs will file an Amended Class Action

 Complaint by July 11, 2022.

       2.     Defendant Ford Motor Company shall have until September 9, 2022 to

 answer or otherwise respond to Plaintiffs’ Amended Class Action Complaint.

       The Parties having stipulated to the relief requested, it is SO ORDERED.



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Dated: July 6, 2022                             s/Shalina D. Kumar
                                                Hon. Shalina D. Kumar
                                                United States District Judge

SO STIPULATED AND AGREED:


/s/ John M. Thomas                 /s/with the consent of E. Powell Miller
John M. Thomas                     E. Powell Miller
Dykema Gossett PLLC                The Miller Law Firm
2723 South State Street            950 West University Drive
Suite 400                          Suite 300
Ann Arbor, MI 48104                Rochester, MI 48307
jthomas@dykema.com                 epm@millerlawpc.com
734-214-7613                       248-841-2400
P31403                             P39487
Attorney for Defendant             Attorney for Plaintiffs




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